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Staples Community in North Babylon, NY

9 1241 Deer Park Avenue Suite 1
   North Babylon, NY 11703
   Get directions


    Tel: (631) 243-3036
    Fax: (631) 268-2581


III Weekly Ad



   Hours of operation
Monday                    8:00 am - 9:00 pm
Tuesday                   8:00 am - 9:00 pm
Wednesday                 8:00 am - 9:00 pm
Thursday                  8:00 am - 9:00 pm
Friday                    8:00 am - 9:00 pm
Saturday                  9:00 am - 8:00 pm
Sunday                    10:00 am - 6:00 pm


                          Free, fast delivery over $25

                          Order online and pick up in store or get free delivery, $25 minimum.

                          Shop now >


                          Explore in store

                          Discover what's possible, connect with your community.
           nI
                          Find now >


                          Same-day pickup & delivery

                          From our stores to your door, get what you need.

                          Shop now >


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Available services at your Staples store

 \     Print and Marketing Services          affirQ   Affirm            PC Tune-Up



       UPS Shipping & Drop-off                  Passport Photos              Amazon Returns   l



       Tech Services        deb
                            %star iPostall                Direct Mail     r-,fig Design Services)

  ZA   Recycling Services              Business Protection




                                  Meet your store specialists




Hello, North Babylon! We are unstoppable when we come together. Here you'll find solutions to
everyday challenges, connect with businesses that make our community thrive, and tips on keeping
you safe and healthy as the season unfolds. We are excited for you to discover our business
solutions at our Print and Marketing Department, at our store. Warm Regards, Michael Lopez
General Manager




Michael Lopez
General Manager



CCM
